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                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN




 INSPIRED PURSUITS, LLC, QUALTIM, INC.,
 CENTER FOR BUILDING INNOVATION, LLC,
 DRJ ENGINEERING, LLC, KIRK GRUNDAHL,
 and SUZANNE GRUNDAHL,

             Plaintiffs,                                    Case No. 3:25-cv-00075-wmc


  V.


 PARAGON COMPONENT SYSTEMS, LLC,
 JOHN HOLLAND, JAMES HOLLAND,
 CLEARSPAN COMPONENTS, LLC, ANDREW
 EWIN, DAVID REED, SCOTT HOELSMA,
 SETH DUNCAN, MICHAEL PITTS, AVERY
 RADMACHER, NATHAN BIEREMA, JEREMY
 BIEREMA, ROB EASON, and THE ESTATE OF
 DANIEL HOLLAND EX REL. SPECIAL
 EXECUTOR MARVIN B. SPEED,

             Defendants.



    BRIEF IN SUPPORT OF MOTION TO DISMISS AMENDED COMPLAINT BY
       DEFENDANTS EWIN, REED, HOELSMA, DUNCAN, PITTS, RADMACHER,
                       JEREMY BIEREMA AND NATHAN BIEREMA



        This is an action originally filed in Wisconsin state court and removed to this Court on

Federal question grounds. On April 8, 2024, all Defendants, including Defendants Radmacher,

E-win, Reed, Jeremy Bierema, Pitts, Nathan Bierema, Duncan and Hoelsema filed a motion to

dismiss (Doc. 28), invoking Federal Rules of Civil Procedure 8, 12(b)(2), 12(b)(6), and 41(b).

On April 25, 2025, doubtlessly seeking to cure deficiencies in the original Complaint, Plaintiffs

filed an Amended Complaint (Doc. 39), mooting the previous motion to dismiss (Doc. 48). This

Motion to Dismiss, also premised upon Federal Rules of Civil Procedure 8, 12(b)(2), 12(b)(6),


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and 41 (b), seeks the dismissal of the Amended Complaint as to Defendants Radmacher, Ewin,

Reed, Jeremy Bierema, Pitts, Nathan Bierema, Duncan and Hoelsema, referred collectively, for

the Court’s convenience, as they are in the Amended Complaint, as the “Paragon Employees.

        In addition to the grounds stated below, pursuant to Rule 10 (c), Federal Rules of Civil

Procedure, Defendants Radmacher, Ewin, Reed, Jeremy Bierema, Pitts, Nathan Bierema, Duncan

and Hoelsema adopt and incorporate herein all applicable grounds for dismissal pursuant to

Rules 8, 12(b)(6) and 41(b) stated by Defendants Paragon Component Systems, EEC and John

Holland in support of their motion to dismiss, as well as the other named defendants.

        A motion to dismiss under Rule 12(b)(6) "tests the sufficiency of the complaint, not the

merits of the case." Kluender v. Oak Grove Assisted Care, LLC, 2023 U.S. Dist. LEXIS 199707,


at *2 (W.D. Wis. Nov. 6, 2023), citing McReynolds v. Merrill Lynch & Co., 694 F.3d 873, 878

(7th Cir. 2012). “When reviewing a motion to dismiss under Rule 12(b)(6), the court must

‘accept all well-pleaded facts from the [complaint] as true and view them in the light most

favorable to the plaintiff.’" Oblitas v. Cty. of Dane, 2025 U.S. Dist. LEXIS 22497, at *8 (W.D.

Wis. Feb. 6, 2025).

        Paragon Employees would show the Court as follows. They are present or former

employees of Paragon Component Systems, LLC, a Tennessee limited liability company with its

principal place of business in Chattanooga. (Am. Complaint,                 8, 13-20). Paragon itself is

alleged in ^ 8 to be “in the business of providing electronic data processing, mathematical

equations and truss-design calculator (‘IP-Math’)”. Other defendants are Clearspan

Components, LLC (alleged in ^ 10 to be a manufacturer of trusses and wall panels in




'In previous filings, the group was collectively termed the “Employee Defendants.” As with the previous motion to
dismiss, pursuant to Rule 10(c), Fed. R. Civ. R, the Paragon Employee defendants adopt the applicable arguments
made (or to be made) by Paragon and John Holland in their motion to dismiss.

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Mississippi), Eason (alleged in 111 to be President of Clearspan), James Holland (alleged in ^

 12 to be an employee of Clearspan), John Holland (alleged in ^ 9 to be President of Paragon),

and Marvin Speed, special independent executor for Daniel Holland, deceased, who is alleged to

have had an interest in both Paragon and Clearspan (T|^ 6, 7).

        A review of the Amended Complaint reveals that the Paragon Employees have obviously

been made parties as a nuisance to Paragon. The introductory paragraph of the Amended

Complaint states:

               The core of this case is a business model (“Developed TS/IP”) that was not fully
        executed dure to a number of civil violations that will be enumerated below.      The
        Developed TS/IP was not fully deployed because one of the individual partners
        unexpectedly passed away several weeks prior to market launch. The remaining
        Defendant partners breached the partnership through their non-performance and
        repudiation. This case is about enforcing the joint venture between remaining parties.

Am. Comp. (Doc. 39:l)(emphasis provided).

        Of the twelve “substantive” causes of action in the Amended Complaint, seven allege


conduct by the Paragon Employees (along with that of some or all of the other Defendants)

relating to this alleged joint venture to which they are not parties. Recently, in Taylor v. The

Salvation Army Nat. Corp, 110 F.4th 1017, 1028-1029 (7"^ Cir. 2024), the Seventh Circuit stated:

                A claim for relief must be plausible; it cannot be merely conceivable or
        speculative. See Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed.
        2d 868 (2009); BellAtl. Co. v. Twombly, 550 U.S. 544, 556, 127 S. Ct. 1955, 167 L.
        Ed. 2d 929 (2007). This principle does not, and under the structures of Rule 8 cannot,
        present a high barrier to the pleader. Rather, it sets forth a practical requirement
        specifically attuned to the early stage of litigation that it governs. Its requirement is
        straightforward: The plaintiff must "present a story that holds together." Swanson v.
        Citibank, N.A., 614 F.3d 400, 404 (7th Cir. 2010). The complaint must include
        sufficient details to make the plaintiffs' account one that could have happened and, if
        it did happen, states a claim cognizable under the governing law. Runnion v. Girl
        Scouts of Greater Chi., 786 F.3d 510, 526 (7th Cir. 2015); see also Carlson v. CSX
        Transp., Inc., 758 F.3d 819, 826 (7th Cir. 2014). As the Supreme Court put it in


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        Twombly, the complaint must show "enough heft" to demonstrate that, if the
        allegations prove to be true, the pleader is entitled to relief. 550 U.S. at 557.

Applying this standard, as discussed below, the Amended Complaint is fatally defieient as to the

Paragon Employees.



        I.        The First Cause of Action in the Amended Complaint does not adequately allege a
                  breach of the NBAs by the Paragon Employees


        The Amended Complaint recites that five entities were to each “execute” the Developed

TS/IP business model: Inspired Pursuits (Tfl), Qualtim (Tf2), Dr. J (][3), Paragon (^[8) and

Clearspan (T|10). The Developed TS/IP business model is alleged to have been created from

2009 to 2017 (1^28-30).         Notably, the Amended Complaint does not expressly identify owners

of the Developed TS/IP business model, but merely notes it was a joint effort by three

individuals (Dan ITolland, Suzi Grundahl and Kirk Grundahl) that would be “executed” by these

five entities.


         Paragraphs 35 and 36 of the Amended Complaint allege execution of nondisclosure

agreement(s) (“NDA”) in August, 2023 in connection with “meetings regarding the mission and
                                                                             »2
strategies of the partnership between Plaintiffs and Defendants.                  Paragraph 35 alleges that the

parties to the NDA were the “Plaintiffs”, John ITolland, Paragon and Paragon Employees, and

that via the NDA “all parties agreed that the business strategy, engineering knowledge, structural

testing and Developed TS/IP would be kept confidential.” From the face of the NDA, which is




^The only partnership alleged is that between “Plaintiffs,” Dan Holland and Clearspan. Am. Comp. Tf30. Nowhere
else in the Complaint are the Paragon Employees alleged to be “partners”. Indeed, each of the NDAs the Plaintiffs
seek to enforce specifically says that the parties thereto agree there is no joint venture or partnership between the
parties, ie, each of the Employee Defendants with Qualtim and/or Dr. J, nor should the NDA be construed to create
one. |1.20.

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attached to the original Complaint and incorporated therein, both assertions are not entirely

accurate. Doc. 18 (under seal) Ex. D-L. First, only two plaintiffs are parties to the NDA,

Qualtim and Dr. J, and, as noted above, they are not alleged to have ownership interest in the

TS/IP, only an “execution” function. Further, the agreement                      1-5) mutually protected a

broad and generic class of “confidential information,” which excluded information which “(ii)

was acquired by the Receiving Party prior to receipt from the Disclosing Party and is not

otherwise subject to an obligation of confidentiality, or (hi) is developed independently by the

Receiving Party, without reference, directly or indirectly to Confidential Information of the

Disclosing Party, or (iv) is hereafter made available to the Receiving Party for use or disclosure

by the Receiving Party from any third party having a right to do so.                The Amended Complaint

tells us that Qualtim, Dr. J and Paragon essentially stood on the same ground as to the alleged

“Confidential Information,” as they were each “one of the entities that would implement the IP-

LLC business model.” Am. Comp. TITj 2, 3, 8.^ And the Amended Complaint tells us they are

mere “executors”, not owners (Id), and that the information was developed by 2017. Am. Comp.

Tf 29. As it can be inferred from the Amended Complaint that Paragon (and through it, the

Paragon Employees) had essentially the same degree of information and standing that Qualtirn

and Dr. J had with respect to the “business model,” then any disclosures received by the Paragon

Employees from Qualtim and Dr. J, the only entities protected by the NDA, would not be

confidential information as to Paragon.




^Dr. J was described as being one of the collaborative entities that would implement the “secret” IP-LLC business
model. Each of these entities being described as implementing the “IP-LLC business model” just adds to the
confusion, as elsewhere the business model is the Developed TS/IP and IP-LLC is simply the entity which “would
execute the business model at issue (“Developed TS/IP”). Am. Comp. ^[1.


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        Obviously, the Grundahls and Inspired Pursuits are not proper plaintiffs as to the NDA

count as they are not a party to the NDA, and the NDA specifically states in f 1.20 that “no third

party is intended to be, and no third party shall be, a beneficiary of any provision of this

Agreement.” The Amended Complaint also clashes with the plain language of the NDA in that

the purpose of the August 2023 NDA is recited therein to be for the purpose of “enabling the

Parties to evaluate, propose and enter into a possible business relationship” (NDA, first

 whereas” clause”). Indeed, the Amended Complaint tells us the relationship Plaintiffs are

seeking to bootstrap into the NDAs’ coverage was already in place since at least 2017 (^T|28-30).

        Further, as to actual “disclosures,” there were allegedly “meetings regarding the mission

and strategies of the partnership between Plaintiffs and Defendants” (Am. Comp,                   36),

information that, based on a reading of the Amended Complaint as a whole was mutually

generated and available. A disclosure of information unique to Qualtim and Dr. J as a

“Disclosing Party” is simply not alleged."^

         [*P28] Contract language is construed according to its plain or ordinary meaning,
        Huml V. Vlaznv. 2006 WI 87, ^52, 293 Wis. 2d 169, 716 N.W.2d 807, consistent with
        "what a reasonable person would understand the words to mean under the
        circumstances." Seitzinger. 2004 WI 28, 270 Wis. 2d 1,122, 676 N.W.2d 426. For a
        business contract, that is "the maimer that it would be understood by persons in
        the [     14] business to which the contract relates." Columbia Propane, L.P. v.
        Wisconsin Cas Co.. 2003 WI 38,112, 261 Wis. 2d 70, 661 N.W.2d 776.

         [*P29] The court construes contracts "as they are written." Id., 112. Ultimately, "the
        office of judicial construction [***593] is not to make contracts ... but to determine
        what the parties contracted to do." Marion v. Orson's Camera Centers, Inc.. 29 Wis.
        2d 339, 345, 138 N.W.2d 733 (1966) (quoting Wisconsin Marine & Fire Ins. Co.
        Bank v. Wilkin. 95 Wis. Ill, 115, 69 N.W 354 (1897).




'‘No partnership between (all) Plaintiffs and (all) Defendants (which presumably includes the Paragon Employees)
has been alleged as such.

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Tufailv. MidwestHosp., LLC, 348 Wis. 2d 631, 642-43, 833 N.W.2d 586, 592-93 (2013).                                 The

elements of any breach of contract claim are (1) the existence of a contract between the plaintiff

and the defendant; (2) breach of that contract; and (3) damages. Pagoudis v. Keidl, 406 Wis. 2d

542, 554, 988 N. W. 2d 606, 612 (2023).

           When a document contradicts a complaint to which it is attached, the document’s facts

or allegations trump those in the complaint.” Flannery v. Recording Industry Association of

America, 354 F. 3d 632, 638 (V'*^ Cir. 2004). On the unambiguous face of the NDA, there is no

nondisclosure agreement between the Paragon Employees and any plaintiff other than Qualtim

and Dr. J.     Therefore, this claim should be dismissed at least as to the Grundahls and Inspired

Pursuits, who are specifically not third-party beneficiaries of the NDA. As far as a breach of the

NDA, as noted above, the information to be disclosed at the August 2023 meeting was “the

mission and strategies of the partnership between Plaintiffs and Defendants” (Am. Comp. ^ 36).

From a fair reading of the Amended Complaint, that was information Paragon and its employees

already had.^

          Paragraph 39 alleges as one of two purported breaches of the NDA by the Paragon

Employees: access being restricted to Plainf ffs and contactng customers relative to the

existence, it seems, of the restricf ons. But the imposition of these alleged restricf ons is not

itself a breach of the NDA. Also, the customers purportedly contacted and the persons doing the

contacting are not identified.^ Secondly, in Paragraph 40, the Paragon Employees are alleged to

have “disclosed to the public business strategies, engineering knowledge, and Developed TS/IP




^ Again, the NDA by its terms related to disclosures relating to a “possible business relationship,” not the long-term
existing relationship described in the Amended Complaint.
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    Each defendant is entitled to know what he or she did that is asserted to be wrongful.”   Bank ofAm., N.A. v.
Knight, 725 F.3d 815, 818 (7th Cir. 2013).

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that were meant to remain confidential.      But there are no facts alleged as to who made these

claimed disclosures, how they were made, or who received the information (other than the

■public” at large). Better yet, Paragraph 36 tells us that at the time the NDAs were signed, “the

mission and strategies of the partnership between Plaintiffs and Defendants” was what was

disclosed/discussed. This inconsistency and paucity of detail (i.e., access restrictions vs.

disclosures of business strategies, etc.) makes a valid allegation of what specifically was

disclosed and specifically by whom more important. The Complaint must “state a claim for

relief that is plausible on its face.” Jackson v. Methodist Health Servs. Corp., 121 F.4th 1122,

1125-26 (7th Cir. 2024). A claim is facially plausible when it “pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct


alleged.” Id.   As to the Paragon Employees and the NDA, this standard has not been met.


        II.     The Fourth Cause of Action in the Amended Complaint does not adequately
                allege unjust enrichment the Paragon Employees

        Here, plausibility is an issue.    ALL Defendants” are alleged to have benefitted from

Plaintiff’s efforts. Did each of the Employee Defendants plausibly “profit” and “continue to

profif ’ benefits as mere employees of Paragon (f|65-66)? There is no allegation that the

Employee Defendants individually received a “direct” benefit from Plaintiffs, in that there is no

allegation that the Employee Defendants have an ownership interest in the monies, services or

product of the purported $23.3 million in value alleged to have been provided by the Plaintiffs (T[

63). The Amended Complaint simply alleges the Paragon Employees were just that, mere

employees of a business.

         Unjust enrichment requires proof of three elements: (1) a benefit conferred on the

defendant by the plaintiff; (2) appreciation or knowledge by the defendant of the benefit; and (3)


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acceptance or retention of the benefit by the defendant under circumstances making it inequitable

to do so. (citation omitted) In order to plead an unjust enrichment claim, the party seeking

judicial relief must allege facts that, if true, would be sufficient to satisfy a court that the above

elements are present.    Sands v. Menard, 379 Wis. 2d 1, 18-19, 904 N.W.2d 789, 798 (2017).

Given the allegations of the Amended Complaint as to the Employee Defendants being just that,

employees, this count fails and should be dismissed.^



        III.    The Fifth Cause of Action for Misappropriation of Trade Secrets fails to state a
                claim against the Paragon Employees and should be dismissed.


        The Amended Complaint alleges that “[sjince 2009, Plaintiffs and Defendant Clearspan

and Dan worked as partners in creating Developed TS/IP” (|30).          Dan, stated to be now

deceased, was “the majority member and founder of Paragon. . .the majority shareholder of

Clearspan . . . [and] the majority and founding member of Inspired Pursuits, EEC.” (|6).          The

Amended Complaint tells us (1f71) fhat “[a]s part of the discussions between Kirk [Grundahl] and

Dan. . . Defendants were privy to information that Plaintiffs maintained as Developed TS/IP.

According to the allegations of Paragraph 29, those discussions had reached fruition by 2017.

        Notwithstanding these allegations, and almost by rote, the Amended Complaint alleges:

        76. The infoiTnation is not generally known or ascertainable outside the Plaintiff’s (sic)

        organization or control.




’Plaintiffs allege on page 1 of the Amended Complaint “this case is about enforcing the joint venture
between the parties”. A joint venture is created by contract, in which case, unjust enrichment does not
apply as a purported express contraet exists. Ostrenga Excavating, Inc. v. Cleveland Constr., Inc., 378
Wis. 2d 739, 905 N.W.2d 843 (2017).


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        77. Plaintiffs derive economie value or business advantage by having exclusive use of

        Developed TS/IP

If Dan was a partner in the joint venture, and owned the majority of Inspired Pursuits, Clearspan

and Paragon, then Plaintiffs’ allegations in Paragraphs 76 and 77 are clearly not plausible.

        Seeking to bootstrap “improper means’’^ via the NDAs, Paragraph 74 states that

'Clearspan, Rob Eason, James Holland, Paragon, and Paragon Employees acquired the

Developed TS/IP by breaching the NDAs.” The same NDAs allegedly executed on August 8,

2023, at a meeting where the Amended Complaint tells us “the mission and strategies of the

partnership between Plaintiffs and Defendants” was discussed                 36), not Developed TS/IP.

Further, is it plausible that Plaintiffs disclosed Developed TS/IP to the Paragon Employees rather

than Dan, or someone at Paragon at his instance?

        The Paragon Employees have also not been plausibly alleged to have committed

misappropriation, which Wis. Stat. Ann. § 134.90 defines as:

                (2) Misappropriation. No person, including the state, may misappropriate or
        threaten to misappropriate a trade secret by doing any of the following:
                (a) Acquiring the trade secret of another by means which the person knows or has
        reason to know constitute improper means,
                (b) Disclosing or using without express or implied consent a trade secret of
        another if the person did any of the following:
                1. Used improper means to acquire knowledge of the trade secret.
                2. At the time of disclosure or use, knew or had reason to know that he or she
        obtained knowledge of the trade secret through any of the following means:
                a. Deriving it from or through a person who utilized improper means to acquire it.
                b. Acquiring it under circumstances giving rise to a duty to maintain its secrecy or
         limit its use.

                  c. Deriving it from or through a person who owed a duty to the person seeking
         relief to maintain its secrecy or limit its use.
                  d. Acquiring it by accident or mistake.


* “Improper means” includes espionage, theft, bribery, misrepresentation and breach or inducement of a breach of
duty to maintain secrecy. Wis. Stat. Ann. § 134.90 (l)(a).

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As noted above, the Amended Complaint is self-contradictory as to who owned and controlled

the Developed TS/IP and more importantly, and what was disclosed in connection with the NDA.

Echoing its earlier “shotgun” approach, the Amended Complaint does not specify which of the

Paragon Employees did what. “Each defendant is entitled to know what he or she did that is

asserted to be wrongful.” Bank ofAm., N.A. v. Knight, id.

         Finally, Plaintiffs conveniently ignore their allegations identifying Dan’s role as majority

owner of Clearspan, Inspired Pursuits and Paragon. Fie is alleged to have been in on Developed

TS/IP from the start and was as much an owner as Plaintiffs.      One is legally incapable of

'misappropriating” a trade secret that one owns or co-owns and has rights to use. See Tao of 5^5.

Integration, Inc. v. Analytical Servs. & Materials, Inc., 299 F. Supp. 2d 565, 577 (E.D. Va.

2004).



         IV.    The Sixth Cause of Action for Civil Conspiracy fails to state a claim as to the
                Paragon Employees and should be dismissed.


         The sixth cause of action for conspiracy alleges that all the defendants, including the

Employee Defendants, “acted together to accomplish an unlawful purpose” (T|95). Of course.

the Employee Defendants cannot conspire with Paragon, who is alleged to be their employer.

         The intra-corporate conspiracy doctrine provides that a corporation cannot conspire with
         its employees. This is so because a conspiracy requires a meeting of the minds between
         two or more persons and the acts of a corporation and of its agents are considered to be
         those of a single legal actor. McAndrew v. Lockheed Martin Corp., 206 F.3d 1031, 1036
         (11th Cir. 2000). Wisconsin recognizes the intra-corporate conspiracy doctrine. See, e.g.,
         Milsap V. Journal/Sentinel, 897 F. Supp. 406, 409 (E.D. Wis. 1995), rev'd in part on
         other grounds, 100 F.3d 1265 (7th Cir. 1996) (holding that allegations of conspiracy
         between employer and its employees insufficient under Wisconsin law); see also Langley
         V. Am. Bank of Wis., 738 F. Supp. 1232, 1240-41 (E.D. Wis. 1990) (stating that bank
         cannot conspire with its employees).


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Norkol/Fibercore, Inc. v. Giibb, 279 F. Supp. 2d 993, 1000 (E. D. Wis. 2003). To the extent the

Employee Defendants are alleged to have conspired with Paragon, this count fails as a matter of

law.


       Further, that deficiency requires clearer allegations as to how the Employee Defendants

conspired with the remaining non-Paragon defendants. The Seventh Circuit has noted that even

before the Supreme Court established the Iqbal and Twombly standards, “a bare allegation of

conspiracy was not enough to survive a motion to dismiss for failure to state a claim.” Cooney v.

Rossiter, 583 F.3d 967, 970 (7^*’ Cir. 2009). Demonstrating the insufficiency of Plaintiffs’

pleading as to the Employee Defendants, Paragraph 93 alleges that “Clearspan, along with all

other Defendants, terminated all projects and partnerships with Plaintiffs” on or about June 3,

2024 (emphasis provided). Is it plausible that the Employee Defendants terminated a

contractual relationship they are not alleged to be a party to? Further, there are no specific

allegations relating to any single one of the Employee Defendants showing they engaged in any

conduct in furtherance of the purported conspiracy. Without such, the conspiracy count simply

contains “[tjhreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements [which] do not sufCicey Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct.

1937, 1949, 173 L. Ed. 2d 868, 884 (2009).

       Finally, pleading conspiracy under Wis. Stat. §134.01 requires an allegation of malice.

       Malice for purposes of a section 134.01 claim means "doing a harm malevolently for the
       sake of the harm as an end in itself, and not merely as a means to some further end
       legitimately desired [such as hurting someone else's business by competition]." Maleki v.
       Fine-Lando Clinic Chartered, S.C., 162 Wis. 2d 73, 469 N.W.2d 629, 635 (Wis. 1991),
       quoXmg Aikens v. Wisconsin, 195 U.S. 194, 203, 25 S. Ct. 3, 49 L. Ed. 154 (1904). In
       short, an irrational desire to cause harm for the sake of harm is actionable under section
       134.01. A rational desire to cause harm for the sake of competitive advantage is not. Also,

       both parties to the conspiracy must have acted out of malice for a plaintiffs section
        134.01 claim to survive.


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iVrnich v, Vorwald, 664 F.3d 206, 213 (7th Cir. 2011). The Amended Complaint fails to so

allege. The Court should dismiss this cause of action as well.



          V.       The Eighth Cause of Action for Tortious Interference with Prospective
                   Contractual Relations should be dismissed.


          The elements of this cause of action are;


               (1) that [Plaintiffs] had a contract or prospective contractual relationship with a third

               party; (2) that [Defendants] interfered with the relationship; (3) the interference was

               intentional; (4) a causal connection exists between the interference and the damages;

               and (5) [Defendant]was not justified or privileged to interfere.

Gihinger v. Cities & iVlls. Mut. Ins. Co., 2024 U.S. App. LEXIS 20103, at *12-13 (7th Cir. Aug.

9, 2024).      There must be “an existing contract or sufficiently concrete prospective contract.” Id.

at *13.


          Nothing of the sort has been alleged. As to the Paragon Employees, Paragraph 104

alleges that, among others, the Employees “withheld access to IP-Math without any notice” and

through the improper use of confidential Developed TS/IP . . . purposefully interfered with

Plaintiffs’ contractual relationships with prospective clients and fulfillment of IP-LLC’s

mission.       Effectively, this allegation is a word salad that fails to allege a “concrete prospective

contracf’ with anybody. Paragraph 105 says the Employees “induced and continue to induce

other industry participants from being able to develop diverse contractual relationships with

Plaintiffs.” Again, a wispy allegation with nothing concrete. According to Paragraph 108,

these vague, unspecific “actions” by the Employees, as it were, are alleged to have “interfered

and disrupted current and prospective contractual relationships between Plaintiffs” and their

'existing, prospective” clients.      There are no allegations as to actual relationships, and no

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allegations as to which of the Employees did what to interfere.              This cause of action states

nothing plausible as to the Employee Defendants.



VI.     The Ninth Cause of Action for Tortious Interference with Business Relations should be


        dismissed because the claim likely does not exist under Wisconsin law.

        In Neuroscience, Inc. v. Forrest, the United States District Court for the Western District

of Wisconsin stated “Wisconsin does not recognize a claim for ‘tortious interference with a

business relationship.’” 2013 U.S. Dist. LEXIS 171317, at *4 (W.D. Wis. Dec. 5, 2013).^^

Instead, the Forrest Court stated the following five (5) elements for a claim of interference with

 an existing contract or sufficiently concrete prospective contracf’: (1) a contractual relationship

on behalf of the plaintiff; (2) knowledge by the defendant of the existence of the contractual

relationship; (3) intentional acts on the part of the defendant to disrupt the relationship; (4) actual

disruption of the relationship causing damages; and (5) lack of privilege or justification for the

defendant’s interference. 2013 U.S. Dist. LEXIS 171317, at *4 {ciimg Burbank Grease Servs.,

LLC V. Sokolowski, 2006 WI 103, 294 Wis. 2d 274, 717 N.W.2d 781; Anderson v. Regents of

the Univ. of California, 203 Wis. 2d 469, 490, 554 N.W.2d 509 (Ct. App. 1996)). Plaintiffs

elsewhere have claimed the Paragon Employees allegedly tortiously interfered with a prospective




’ The United States District Court for the Eastern District of Wisconsin, in a now vacated opinion, stated the
“Wisconsin Court of Appeals puts a slightly different gloss on the existence of a tortious interference with business
relationships cause of action.” Healthwerhs, Inc. v. Spine, 2015 U.S. Dist. LEXIS 64216, at *32 (E.D. Wis. May 15,
2015), vacated, Stryker Spine v. Spine Grp. of Wis., LLC, 320 F. Supp. 3d 985, 2018 U.S. Dist. LEXIS 99184 (E.D.
Wis. June 11, 2018). The vacated opinion from the Healthwerhs, Inc. Court contains the five (5) elements discussed
by the Forrest Court, but an additional finding that a “history of [business relationships]” could be substituted for
“contractual relationship” to describe the elements of the claim. 2015 U.S. Dist. LEXIS 64216, at *34 (citing Wis.
Hous. & Econ. Dev. Auth. v. Tri Corp Hous., Inc., 2011 WI App 99, *7, 334 Wis. 2d 809, 800 N.W.2d 958 (Ct. App.
May 10, 2011).


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contract.To the extent Forrest is controlling, Plaintiffs’ Ninth Cause of Action should be

dismissed because it has no basis under Wisconsin law and is a rehash of Plaintiffs’ Eighth Cause


of Action.


        Before the Forrest opinion was issued, however, the Western District issued the Big

Daddy Games, LLC v. Reel Spin Studios, LLC opinion which seems to contain a finding that

Wisconsin does recognize a stand-alone claim for tortious interference with business relations.

2013 U.S. Dist. LEXIS 193720, at *4 (W.D. Wis. Feb. 4, 2013). The Big Daddy Games, LLC

Court stated the following elements for a claim for tortious interference with business relations

        (1) An actual or prospective contract existed between Plaintiffs and a third party;
        (2) Defendants interfered with that contract or prospective contract;
        (3) The interference was intentional;
        (4) The interference caused Plaintiffs to sustain damages; and
        (5) Defendants were not justified or privileged to interfere.


2013 U.S. Dist. LEXIS 193720, at *4 (citing Briesemeister v. Lehner, 2006 WI App 140, 295

Wis. 2d 429, 452, 720 N.W.2d 531, 541; Shank v. William R. Hague, Inc., 192 F.3d 675, 681

(7th Cir. 1999)).

        The elements contained in the Big Daddy Games, LLC opinion are effectively the same

elements contained in the Forrest opinion. For the same reasons discussed above, this claim

should be dismissed. In addition. Defendants aver Plaintiffs have failed to state a claim because

Plaintiffs’ allegations are fact-less and there is no allegation that Defendants’ alleged interference

was not privileged or justified (element five). The Big Daddy Games, LLC Court found the

defendant’s counterclaim for tortious interference with business relations failed to state a claim


where the defendant merely alleged the plaintiff:



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  Plaintiffs do not allege Defendants “Paragon Employees” tortious ly interfered with an existing contract (the Seventh
Cause of Action).

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       (1) ‘caus[ed] the breakup’ of [defendant’s] partnership with John Paul Jones by
       acquiring and using ‘information and trade secrets without’ [defendant’s]
       knowledge; (2) caus[ed] ‘loss of sales and income’ from [defendant’s] business;
       and (3) ‘t[ook] down’ [defendant’s] website pokies4fun.com


2013 U.S. Dist. LEXIS 193720, at *4. The Court specifically noted how the defendant failed to

 set for any facts to support his counterclaims, such as how plaintiff ‘acquir[ed] information and

trade secrets’ from [defendant]; what the information and trade secrets were; how plaintiff used

the information to ‘caus[e] the breakup’ of [defendant’s] partnership; how plaintiff caused

[defendant] to ‘lo[se] sales and income; and how plaintiff‘t[ook ] down’ [defendant’s] website.

Big Daddy Games, LLC, 2013 U.S. Dist. LEXIS 193720, at *5. “Without this information.

plaintiff does not have fair notice regarding the basis for [defendant’s] claims that plaintiff

interfered with his business relationship.” Big Daddy Games, LLC, 2013 U.S. Dist. LEXIS

193720, at *5. The defendant’s baseless allegations in Big Daddy Games, LLC are akin to the

allegations in this case. Where is the factual support? This claim is not plausible and is

indisputably missing an element for any alleged cause of action. It should be dismissed with

respect to these Defendants.



        VII.   The Tenth Cause of Action for Misappropriation of Confidential Business

               Information should be dismissed because this claim does not exist under


               Wisconsin law.


        In Marine Travelift, Inc. v. Marine Lift Systems, the plaintiff pled a similar

 misappropriation of confidential business information” claim that had no foundation in

Wisconsin law. 2013 U.S. Dist. LEXIS 170825, *20 (E.D. Wis. Dec. 3, 2013). The Marine

Travelift, Inc. Court specifically stated “Wisconsin does not recognize a claim of

misappropriation of confidential and proprietary information as a separate and independent tort.

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2013 U.S. Dist. LEXIS 170825, at *23; see also Rustic Retreats Log Homes Inc. v. Pioneer Log

Homes ofB.C. Inc., 2021 U.S. Dist. LEXIS 113411, *58-59 (E.D. Wis. June 17, 2021)

(“However, ‘ [tjhere is no separate tort of misappropriation of confidential business information

under Wisconsin law that applies to non-trade secret information.’ [] Accordingly, Pioneer’s

common law misappropriation of trade secrets claim is preempted by Wis. Stat. § 134.90(6)(a).

Further, there is no authority for proceeding on a common law claim for misappropriation of

information that does not meet the statutory definition of a trade secret.”)

       Plaintiffs already allege in their Fifth Cause of Action a claim for misappropriation of

trade secrets. (Am. Compl.     70-88). Notwithstanding Plaintiffs’ barebone allegations that are

devoid of any factual assertions, the claim for misappropriation of confidential business

information should be dismissed since it is not recognized under Wisconsin law.




       VIII.   The Eleventh Cause of Action for Unfair Competition should be dismissed

       because this Claim lacks any specific, factual allegations.

        That the Restatement breaks down unfair competition claims in this manner is

informative in that it may explain why Wisconsin courts define the elements of an unfair

competition claim differently depending on the type of claim articulated in the

complaint.” Thermal Design, Inc. v.Am. Soc’y of Heating, Refrigerating, & Air-Conditioning

Eng’rs, Inc., No. 07-C-765, 2008 U.S. Dist. LEXIS 34344, *23 (E.D. Wis. April 25, 2008)

(discussing Restatement (Third) of Unfair Competition § I (1995)). For example, the requisite

elements for an alleged claim of unfair competition on trademark infringement differ from the

elements of an alleged claim of unfair competition based on misappropriation. See Thermal

Design, Inc., 2008 U.S. Dist. LEXIS 34344 at *23-24. To establish a case for unfair competition



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based on trademark infringement, the Plaintiffs must prove (1) validity of the mark in question;

and (2) infringement." Echo Travel, Inc. v. TravelAssocs., Inc., 870 F.2d 1264, 1266 (7th Cir.

1989). On the other hand, to establish a case of unfair competition based on misappropriation.

Plaintiffs must prove “(1) time, labor, and money expended in the creation of the thing

misappropriated; (2) competition; and (3) commercial damage to the plaintiff." Mercury Road

Prods., Inc. v. Econ. Consultants, Inc., 64 Wis. 2d 163, 174, 218 N.W.2d 705, 709 (1974)

(internal citations omitted).

         This claim should be dismissed beeause Plaintiffs fail to articulate in their Complaint


which theory of unfair competition upon whieh their purported claims are predicated. As it

stands regarding the Paragon Employees, Plaintiffs have failed to give any notiee, mueh less fair

notiee of what the alleged unfair competition claim rests. Even were these Defendants to assume

the alleged claim is founded upon misappropriation, there are no specific allegations regarding

how these Defendants “Paragon Employees” are in competition with the Plaintiffs. See Mercury

Record Prods., Inc. v. Econ. Consultants, 105 Wis. 2d 753, 315 N.W.2d 727, 1981 WE 138912,

*3 (Wis. Ct. App. 1981) (stating “[cjompetition is an essential element of the claim of unfair

competition.”). Absent from Plaintiffs’ Amended Complaint is any speeific, factual allegations

that these Defendants appropriated the Plaintiffs’ “time, labor, and money

         Plaintiffs aver “Paragon Employees . . . unauthorized use of Plaintiff’s trade seerets.

confidential and proprietary information constitutes unfair competition.” (Am. Compl. ^ 126).

Which Paragon employees? What was the “unauthorized use”? When did the “unauthorized use'

occur? The Amended Complaint contains allegations that “Paragon Employees . . . conduet in

using Plaintiffs’ work product. . . including in activities to compete with Plaintiffs . . . .” (Am.

Compl.     127). What eonduet? Which activities? What makes the purported “conduct” and



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 activities” competitive in nature? Plaintiffs fail to articulate any specific acts or practices by

these Defendants to form the basis for any alleged, plausible unfair competition claim. This

claim must be dismissed under Iqbal and Twombly.



         Again, no single Paragon Employee is specifically identified in the Amended Complaint

as having taken any particular action complained of by the Plaintiffs.                    An allegation that a

group of defendants is liable ‘without any details about who did whaf does not state a claim for

relief.” Milchtein v. Milwaukee Cty., 42 F.4th 814, 824 (7th Cir. 2022), citing Bank ofAm., N.A.

V. Knight, id., see also Cheek v. Kirkpatrick, 2023 U.S. Dist. LEXIS 108714, at *3 (W.D. Wis.
                   11
June 21, 2023).

         As stated in Bank ofAm., N.A. v. Knight, id., “[IJiability is personal.” As discussed

above, relative to the Paragon Employees at least. Plaintiffs’ allegations are nothing more than a

 shotgun” effort to involve them in litigation in Wisconsin for the sole purpose of serving as a

nuisance to Paragon. The Court should grant these Defendants’ motion.

         As stated in these Defendants’ Motion to Dismiss, pursuant to Rule 10(c), Fed. R. Civ. R,

these Defendants also adopt co-defendants’ Paragon and John Holland’s Motion to Dismiss the

Amended Complaint, and the grounds stated (or to be stated) in support thereof




“Paragon Employees do not address the injunction counts, as an injunction is a form of relief, not a basis for
liability. In any event. Plaintiffs do not allege any concrete, particularized injury to them that is either actual or
imminent, that is fairly traceable to the Paragon Employees, or that a favorable decision would likely redress. See
Milwaukee Police Ass’n v. Flynn, 863 F.3d 636, 639 (7th Cir. 2017).


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